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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

Pamela J. Oest
424 Summers Place
Portsmouth, VA 23702

Plaintiff
Vv. Case No.
Jonathan G. Newell

109 Market Street, Room 208
Denton, MD 21629

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Defendant

 

COMPLAINT

Pamela J. Oest, a resident of Portsmouth, Virginia, by her attorney, Michae! L.
Sandul, sues the Defendant, Jonathan Newell, a resident of Maryland, and states:

E. Jurisdiction and Venue

 

1. Jurisdiction is proper in this Count pursuant to 28 U.S.C. § 1332(a)(1) as the
Plaintiff is a resident of the State of Virginia and the Defendant is a resident of the State
of Maryiand and the amount in controversy is in excess of Seventy-Five Thousand Dollars
($75,000).

2. Venue is proper pursuant to 28 U.S.C. § 1391(a)(2) because the automobile
accident giving rise to this cause of action arose In the State of Maryland.
iH. Parties

3. The Plaintiff, Pamela J. Oest, is an adult citizen of the State of Virginia

residing in Portsmouth, Virginia.
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4, The Defendant, Jonathan Neweli, is a resident of the State of Maryland

residing in Caroline County.

5. The events giving rise to this cause of action took piace in Caroline County,
Maryland,
6. On or about December 26, 2008, the Plaintiff was a passenger in an

automobile operated by Hope Thompson, which was stopped to make a right turn into the
driveway for 10855 Central Avenue, Ridgely, Caroline County, Maryland 21660.

7. At the same time and place, the Defendant was operating a motor vehicle on
Central Avenue, Ridgely, Maryland, behind that in which the Plaintiff was a passenger.

8. Defendant, Jonathan Newell, owed a duty of due care to Plaintiff, Pamela
Oest, to operate his vehicle in a proper and careful manner; to pay proper time and
attention to his operation of the vehicle; to keep a proper lookout for other vehicies on the
road; to drive at an appropriate reduced speed for the conditions then and there existing;
to take appropriate actions to avoid a collision when he knew or should have known one
was imminent; and in all other ways to operate his vehicle in a prudent, safe and
reasonable manner.

9. Defendant, Jonathan Newell, breached the duty set forth above by failing to
operate his vehicle in a proper and careful manner; failing to pay proper time and attention
to his operation of the vehicle; failing to keep a proper lookout for other vehicles on the
road; failing to drive at an appropriate reduced speed for the conditions then and there
existing; failing to take appropriate actions to avoid a collision when he knew or should
have known one was imminent: and failing in all other ways to operate the vehicle in a

prudent, safe and reasonable manner.
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10. As a direct and proximate result of the of the negligence of Defendant,
Jonathan Newell, Defendant drove his vehicle into the rear of the vehicle in which the
Plaintiff was a passenger.

11. As a further direct and proximate result of the negligence of Defendant
Jonathan Newell, Plaintiff Pamela J. Oest suffered bodily injuries.

12. Asa further direct and proximate result of the negligence of Defendant
Jonathan Newell, Plaintiff Pamela J. Oest suffered and will continue to suffer pain, anguish,
and mental suffering, has incurred and will continue to incur medical and chiropractic
expenses, lost income and lost earning capacity.

WHEREFORE, for the foregoing reasons, the Plaintiff, Pamela J. Oest, requests
judgment against Defendant, Jonathan Newell, in the amount of Three Hundred Fifty
Thousand Dollars ($350,000) plus judgment and costs in this action.

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AOR

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Defendant

 

ELECTION FOR JURY TRIAL

Comes now the Plaintiff, Pamela J. Qest, through undersigned counsel, and elects

a jury trial in the above matter.

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